. Case 4:20-cv-02743 Document 8 Filed on 09/03/20 in TXSD Page 1 of 1

U.S. Department of Justice
United States Marshals Service

PROCESS RECEIPT AND RETURN
See "Instructions for Service of Process by U.S. Marshal"

 

 

 

Te
PLAINTIFF ne ce ent fe 8.01,8f | COURT CASE NUMBER
MICHAEL PALMA ~ | 4:200v2743 ue 20°CV- ZAKS
DEFENDANT le Pan ~_| TYPE OF PROCESS
HARRIS COUNTY APPRAISAL DISTRICT, ET AL coptpepe pier oy SUMMONS AND COMPLAINT

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ere 15 ERVEO OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE

JUDGE CHRISTINE WEEMS, HARRIS COUNTY CIVIL COURTHOUSE, 281ST STATE DISTRICT COURT

 

AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
201 CAROLINE, 14TH FLOOR, HOUSTON TX 77002

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS pecowre States Courts

horn-District of Texas

FILED

SEP 03 2020

US COURTS
$15 RUSK, ROOM 5300
HOUSTON TX 77002

 

Number of process to be
served with this Form 285

Number of parties to be
served in this case

 

 

Check for service
on U.S.A.

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST US BOSFA Meh ER KGF Goalede Business and Alternate Addresses,

All Telephone Numbers, and Estimated Times Available for Service):

 

(X] PLAINTIFF

Chur h [.] DEFENDANT

Signature of Attorney other Originator requesting service on behalf of:

stem dren; he pou ly

 

TELEPHONE NUMBER DATE
713-250-5500

 

 

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

 

] acknowledge receipt for the total | Total Process | District of District to
number of process indicated. Origin Serve
(Sign only for USM 285 if more

 

 

 

 

 

 

than one USM 285 is submitted)

a USMS Deputy or Clerk Date

hee .

a , -

| No. f AG nof FA a CW, > Ly COo2O

 

 

I hereby certify and return that I

rave personally served , [-] have legal evidence of service, [7] have executed as shown in "Remarks", the process described on the

individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

 

[ Thereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

Name and title of individual served (ifnot shown above)

C3ck TERQES, couer Coon OxwaTor

Date Time

G-[-20 | yj30 Bm

 

 

Address (complete only different than shown above)

Signa) fUS. 1 or Deputy \
CU

L- HE WI

 

 

 

Service Fee Total Mileage Charges

(including endeavors)
f B. OU | AcCcOMPAWTED
-Sensxce

Forwarding Fee

Oo

Total Charges

bS00

 

 

 

 

Advance Deposits

Go

Amount owed to U.S. Marshal* or

(Amount of Refund*)
£S- 02

 

 

REMARKS

 

PRIOR VERSIONS OF THIS FORM ARE OBSOLETE

Form USM-285
Rev. 11/18
